         Case 1:21-cr-00040-TNM Document 132 Filed 09/23/21 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       1:21CR40
                                             )       Status Hearing: October 4, 2021
DAVID LEE JUDD                               )


    DAVID JUDD’S MOTION TO MODIFY CONDITIONS OF PRE-TRIAL RELEASE

       David Lee Judd (“Mr. Judd”), through counsel, respectfully moves this Court for an Order

modifying conditions of his release. Specifically, he requests that the conditions of location and

monitoring and home detention be lifted. Mr. Judd has been under home detention since May 13,

2021. He has not incurred a single violation. Mr. Judd’s probation officer consents to this motion

and agrees that location monitoring and home detention are not required to supervise Mr. Judd. 1

In support of this Motion, counsel states:

       1. Mr. Judd was arrested in his home in Dallas, Texas on March 26, 2021. See Arrest

           Warrant, Doc. No. 5. He waived a detention hearing in the arresting district. On April

           16, 2021, Mr. Judd was charged by Indictment with one count of 8 U.S.C. § 111

           (Assaulting, Resisting, or Impeding Certain Officers or Employees); one count of 18

           U.S.C. § 111(b) (Assaulting, Resisting, or Impeding Certain Officers or Employees

           While Using a Deadly or Dangerous Weapon); one count of 18 U.S.C. § 1512(c)(2)

           (Obstruction of an Official Proceeding); one count of 18 U.S.C. § 231(a)(3) (Certain

           Acts During Civil Disorder); one count of 18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)

           (Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly



1
 The government does not consent to this request at this time. Undersigned counsel has
provided Mr. Judd’s probation officer’s contact information to the government.
                                                 1
        Case 1:21-cr-00040-TNM Document 132 Filed 09/23/21 Page 2 of 4




          or Dangerous Weapon); one count of 18 U.S.C. §§ 1752(a)(4) and (b)(1)(A) (Engaging

          in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous

          Weapon); one count of 40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol

          Building); and one count of 40 U.S.C. § 5104(e)(2)(F) (Act of Physical Violence in the

          Capitol Grounds or Buildings). Each of these alleged offenses stem from the events at

          the Capitol on January 6th, 2021.

       2. It took over one month for Mr. Judd to be transferred to this District. He was arraigned

          at his initial appearance on April 30, 2021. Undersigned counsel was appointed at the

          initial appearance and a detention hearing was held on May 12, 2021.

       3. Following the detention hearing, Mr. Judd was ordered released with conditions,

          including location monitoring and home detention. See Doc. No. 60 (Order setting

          conditions of release). Mr. Judd was released on May 13, 2021, and returned to his

          home in Texas.

       4. Since his release, Mr. Judd has been supervised by Probation Officer Fred Forman. He

          has incurred no violations of release.

       5. Mr. Forman agrees that it would be appropriate to remove conditions of location

          monitoring and home detention. Mr. Forman is available should the Court wish to

          consult with him. 2

       6. Mr. Judd is a 35-year-old with no history of violence or prior convictions. He is a

          college graduate and has earned a degree in hospitality management. He is currently

          employed full-time at “Total Wine” and works part-time for the Dallas Cowboys,




2
 Undersigned counsel will provide chambers with Mr. Forman’s contact information should the
Court wish to speak to him directly.
                                                   2
 Case 1:21-cr-00040-TNM Document 132 Filed 09/23/21 Page 3 of 4




   managing concession stands when the team plays at the Dallas stadium. He teaches

   Bible study at his church and volunteers with the Fallen Officers Foundation. Mr.

   Judd’s past record and his record on pre-trial release demonstrate that he is neither a

   flight risk or a danger to the community.

                                        Conclusion

For the reasons stated herein and any others that appear to the Court, Mr. Judd respectfully

moves the Court to remove conditions of home detention and electronic monitoring. A

proposed Order is attached for the Court’s review.




                                      Respectfully submitted,



                                      David Judd

                                      By Counsel

                                      ___/s/_____________
                                      Elizabeth Mullin
                                      Virginia Bar Number 86668
                                      DC Bar Number 484020
                                      Assistant Federal Public Defender

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                                         3
         Case 1:21-cr-00040-TNM Document 132 Filed 09/23/21 Page 4 of 4




                               CERTIFICATE OF SERVICE
        I hereby certify that on September 23, 2021, I will electronically file the foregoing pleading
with the Clerk of the Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to all counsel of record.


                                               ___/s/____________
                                               Elizabeth Mullin
                                               Virginia Bar Number 86668
                                               DC Bar Number 484020
                                               Assistant Federal Public Defender




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